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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

I. (a) PLAINTIFFS ( Check box if you are representing yourself )

Billie Rene’ Frances lillian Powers

DEFENDANTS

( Check box if you are representing yourself [_] )
THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK et al

 

(b) County of Redidenteor First Listed Plaintiff Orange California

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

 

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

 

 

 

fl. BASIS OF JURISDICTION (Place an X in one box only.) (Hi. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF _ PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State O11 Incorporated or Principal Place 44
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [] 2 [] 2 Incorporated and PrincipalPlace (] 5 [] 5
$6 (ind c h of Business in Another State
2. U.S. Government []4 Diversity (Indicate Citizenship | Citizen or Subject of a . :
. F in Nation 6 6
Defendant of Parties in Item fl) Foreign Country C13 ()3 telg O O
IV. ORIGIN (Place an X in one box only.) «teas ots
1. Original 2. Removed from O 3. Remanded from 0 4. Reinstated or CO 5. Transferred from Another 6. destin O 8. Mtcction
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [] No
CLASS ACTION under F.R.Cv.P. 23:

Breach of Cotract, 18 USC(A, FCRA, FDCPA, 28 USC 1692, LAW OF VOIDS, 15 USC 1652, Time Barred, unfair business practices, 18 USC 241 & 242..undean hands-false

claims.

[_]Yes No

Vit. NATURE OF SUIT (Place an X in one box only).

(Check "Yes" only if demanded in complaint.)

J] MONEY DEMANDED IN COMPLAINT: $ 49.9 iniyi 1
Vi. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS |
375 False Claims Act |L] 110Jnsurance [_] 240 Torts to Land oO a Naturalization Habeas Corpus: [_J 820 Copyrights
376 Qui Tam (-] 120 Marine [] 245 Tort Product [] 463 Alien Detainee [7] 830 Patent
C1 (31 usc 3729(a) Liability [165 Other [F] 310 Motions to Vacate > bbreviated
[J 130 Miller Act [1] 290 All Other Real Immigration Actions Sentence O 835 Patent - Abbreviat
oO 400 State 140 Negotiable Property TORTS (_] 530 General New Drug Application
Reapportionment C1 instrument TORTS PERSONAL PROPERTY |[_] 535 Death Penalty [_] 840 Trademark
[1] 410 Antitrust 150 Recovery of PERSONALINJURY |) 370 Other Fraud Other: SOCIAL SECURITY
L] 430 Banks and Banking O Enforcement of Ly 310Aiplane (_] 371 Truth in Lending [-] 540 Mandamus/Other L] 861 HIA (1395#f)
315 Airplane
450 Commerce/ICC his evil Ri 2
LI Rates/etc. me Judgment U1 Product Liability oO 380 Other Personal |L] 550 Civil Rights [_] 862 Black Lung (923)
[1] 460 Deportation [] 151 Medicare Act | 370 Assault, Libel & Property Damage 555 Prison Condition _ | [_] 863 DIWC/DIWW (405 (g))
Slander
85 Pi D ivi i
[ Ssacester nie | Sere Seidene |] 229. Emlovers C1 Producttibity”|[] Conditonsof = |i Pore) Mi
ence orrupt Org. Liability (_] 865 RSI (405 (g))
. Loan (Excl. Vet.) BANKRUPTCY Confinement 9.
[[] 480 Consumer Credit 340 Marine
[1] 490 Cable/Sat TV 153 Recovery of O 345 Marine Product |[7] 422 Appeal 28 FORFEITURE/PENALTY FEDERAL TAX SUITS
a: [] Overpayment of {[_] Liability USC 158 625 Drug Related 870 Taxes (U.S. Plaintiff or
o 850 Securities/Com Vet. Benefits g 423 Withdrawal 28 LI Seizure of Property 21 |] Defendant)
moalties/Exchange [7 160 Stockholders! [] 350 Motor Vehicle USC 157 oo ch [ 871)I8S-Third Party 26 USC
tc 8 Other Statutory Suits oO Prod Motor ity CIVIL RIGHTS C6 er 7609
Actions roduct Liabi re
[C1 891 Agricultural Acts |[] 190 Other 360 Other Personal |L] 440 Other Civil Rights caper
: Contract L Injury [1] 441 Voting cy 710 Fair Labor Standards
893 Environmental lini Act
CI Matters Cl 195 Contract CO 362 Personal Injury- [_] 442 Employment bo
895 Freedom of Info Product Liability Med Malpratice 443 Housi y Ol 720 Labor/Mgmt
v . . iury- jousin
‘a Act [] 196 Franchise oO 365 Personal Injury- |{7] Accommodations ;
Product Liability cone [L] 740 Railway Labor Act
(_] 896 Arbitration REAL PROPERTY 367 Health Care/ 445 American with 751 Family and Medical
[J 210 Land Pharmaceutical ] Disabilities- C] amry an ca
899 Admin. Procedures Condemnation O Personal Injury Employment Leave Act
[] Act/Review of Appeal of [1] 220 Foreclosure Product Liability q 446 American with |( 790 Other Labor
Agency Decision q 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of 230 Rent Lease & Personal Inj : 791 Employee Ret. lnc.
O State Statutes O) Ejectment Product i ity L] 448 Education O Security Act
SACVi7/-01386 JVS (KESx)
 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

VII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?
(] Yes No

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
(] Orange Southern
(_} Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

L] Yes [x] No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

8.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bemardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern” in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

L] Yes No

If "no, ” skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern” in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

 

 

 

 

(J Enter "Western” in response to Question E, below, and continue
from there.
A. B. c.
: sae Riverside or San Los Angeles, Ventura,
. ?
QUESTION D: Location of plaintiffs and defendants? Orange County Bernardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district - Ol
teside, (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside, (Check up to two boxes, or leave blank if none of these choices | [ ] L]
apply.

 

 

D.1. Is there at least one answer in Column A?

Yes

if "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter “Southern” in response to Question E, below, and continue from there.

If "no," go to question 2 to the right.

[_] No

—

D.2. Is there at least one answer in Column B?

[] Yes [_]No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Westem” in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: m=.

 

SOUTHERN DIVISION

 

QUESTION F: Northern Counties?

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[lYes  [X] No

 
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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
NO [-] YES

If yes, list case number(s):

 

Civil cases are related when they (check all that apply):
| A. Arise from the same or a closely related transaction, happening, or event;
C] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
EF] A. Arise from the same or a closely related transaction, happening, or event;
[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

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X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

 
 
  

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

All daims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,

861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))
